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                Exhibit A
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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    DREW HUNTHAUSEN,                                    Case No.: 3:22-cv-1970-JES-DDL
12                                       Plaintiff,
                                                          ORDER GRANTING MOTION TO
13    v.                                                  DISMISS WITHOUT LEAVE TO
                                                          AMEND
14    SPINE MEDIA, LLC et al.,
15                                    Defendants.         ECF No. 15
16
17         Spine Media, LLC (“Defendant”) filed a motion to dismiss Plaintiff’s First
18   Amended Complaint (“FAC”) alleging that Plaintiff failed to plead a viable cause of
19   action for violating the Video Privacy Protection Act (“VPPA”). In particular, Defendant
20   argues that Plaintiff failed to plead that Defendant is a video tape service provider, that
21   Plaintiff failed to plead the disclosure of personal identifying information (“PII”) to a
22   third party, that Plaintiff is not a “consumer” under the VPPA, and that Plaintiff failed to
23   allege that Defendant knowingly disclosed PII. For the reasons stated below, the Court
24   GRANTS the motion to dismiss with prejudice.
25                                      I.   BACKGROUND
26         Plaintiff is a “consumer privacy advocate” who works to ensure that companies
27   abide by the obligations imposed by federal law under the VPPA. FAC ¶¶ 22-24. Plaintiff
28   has a Facebook account. FAC ¶ 19. Defendant is engaged in the business of delivery of

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 1   video materials, specifically, Defendant’s business model involves monetizing instances
 2   in which consumers watch videos on the website. FAC ¶ 16. During the past year,
 3   Plaintiff visited www.yourbump.com (the “Website”) and watched one or more videos.
 4   FAC ¶¶ 1, 25. Plaintiff also purchased products advertised on the Website by third parties
 5   from which Defendant receives direct or indirect compensation. FAC ¶ 23. When
 6   Plaintiff watched videos on the Website, Defendants disclosed event data, which
 7   recorded and disclosed the video’s title, description, and universal resource locator, to
 8   Facebook using a Facebook tracking pixel. FAC ¶¶ 13-20, 26.
 9         The Facebook tracking pixel is a device that includes programming code that
10   advertisers can integrate into their website. FAC ¶ 13. Once activated, the Facebook
11   tracking pixel “tracks the people and type of actions they take.” FAC ¶ 13. Advertisers
12   control what actions the tracking pixel will collect, including website’s metadata, along
13   with what pages a visitor views. FAC ¶ 14. Advertisers control how the tracking pixel
14   identifies visitors and the pixel is configured to automatically collect “HTTP Headers,”
15   and “Pixel-specific Data.” FAC ¶ 15. HTTP Headers collect “IP addresses, information
16   about the web browser, page location, document, referrer and persons using the website.”
17   Id. Pixel-specific data includes the “the Pixel ID and cookie.” Id.
18         Facebook matches activity on the Website with a user’s profile and allows users to
19   download their “off-site activity,” which is a “summary of activity that businesses and
20   organizations share with [them] about your interactions, such as visiting their apps or
21   websites.” FAC ¶ 21. The off-site activity report confirms that Defendants identify an
22   individual’s video viewing activities. Id. Defendants also disclosed identifiers for
23   Plaintiff, including the c_user and fr cookies. FAC ¶ 26. Plaintiff alleges that Defendant
24   knowingly disclosed Plaintiff’s PII to Facebook. FAC ¶ 21.
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 1                                   II.    LEGAL STANDARD
 2         A motion to dismiss under Federal Rule 12(b)(6) tests the legal sufficiency of the
 3   claims asserted in the complaint. Fed. R. Civ. P. 12(b)(6); Navarro v. Block, 250 F.3d
 4   729, 731 (9th Cir. 2001). A court must accept all factual allegations pleaded in the
 5   complaint as true and draw all reasonable inferences from them in favor of the
 6   nonmoving party. Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337–38 (9th Cir. 1996).
 7   However, a court need not accept conclusory allegations as true, but “examine whether
 8   conclusory allegations follow from the description of facts as alleged by the plaintiff.”
 9   Holden v. Hagopian, 978 F.2d 115, 1121 (9th Cir. 1992). “Threadbare recitals of the
10   elements of a cause of action, supported by mere conclusory statements, do not suffice.”
11   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To avoid a Rule 12(b)(6) dismissal, a
12   complaint must plead “enough facts to state a claim to relief that is plausible on its face.”
13   Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 547 (2007)).
14         A claim is facially plausible when the factual allegations permit “the court to draw
15   the reasonable inference that the defendant is liable for the misconduct alleged.” Id.
16   While a plaintiff need not give “detailed factual allegations,” a plaintiff must plead
17   sufficient facts that, if true, “raise a right to relief above the speculative level.” Twombly,
18   550 U.S. at 545. “The plausibility standard is not akin to a ‘probability requirement,’ but
19   it asks for more than a sheer possibility that a defendant has acted unlawfully.” Iqbal, 556
20   U.S. at 678 (quoting Twombly, 550 U.S. at 556). Plausibility requires pleading facts, as
21   opposed to conclusory allegations, which rise above the mere conceivability or possibility
22   of unlawful conduct. Twombly, 550 U.S. at 555.
23         Federal Rule of Civil Procedure 8 requires “a short and plain statement of the
24   claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To comply
25   with Rule 8, “[s]pecific facts are not necessary; the statement need only give the
26   defendant fair notice of what the … claim is and the grounds upon which it rests.”
27   Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citations omitted). Factual allegations must
28   be “enough to raise a right to relief above the speculative level,” Bell Atlantic Corp. v.

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 1   Twombly, 550 U.S. 544, 555 (2007). A complaint must proffer “enough facts to state a
 2   claim to relief that is plausible on its face.” Id. at 570. “While legal conclusions can
 3   provide the complaint’s framework, they must be supported by factual allegations.”
 4   Iqbal, supra, 556 U.S. at 679.
 5         When a complaint fails to state a claim as set forth above, a plaintiff may seek
 6   leave to amend to cure its deficiencies. Federal Rule 15(a) provides that a district court
 7   should “freely give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a). In
 8   deciding whether to grant leave to amend, the court considers the following factors: the
 9   presence or absence of undue delay, bad faith, dilatory motive, repeated failure to cure
10   deficiencies by previous amendments, undue prejudice to the opposing party, and futility
11   of the proposed amendment. Foman v. Davis, 371 U.S. 178, 182 (1962); DCD Programs,
12   Ltd. v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987).
13         A district court has discretion to deny leave to amend when a proposed amendment
14   would be futile. Chappel v. Lab. Corp. of America, 232 F.3d 719, 725–26 (9th Cir. 2000).
15   Amendment is futile “if no set of facts can be proved under the amendment to the
16   pleadings that would constitute a valid and sufficient claim or defense.” Miller v. Rykoff–
17   Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988). Thus, leave to amend should be denied
18   where “the allegation of other facts consistent with the challenged pleading could not
19   possibly cure the deficiency.” New v. Armour Pharm. Co., 67 F.3d 716, 722 (9th Cir.
20   1995); Reddy v. Litton Indus., Inc., 912 F.2d 291, 297 (9th Cir. 1990) (amended
21   complaint may not contradict prior pleadings). Repeated failure to cure deficiencies by
22   amendment previously allowed is also a reason to deny leave to amend. Foman, 371 U.S.
23   at 182. “[W]hen a district court has already granted a plaintiff leave to amend, its
24   discretion in deciding subsequent motions to amend is particularly broad.” Chodos v.
25   West Publishing Co., 292 F.3d 992, 1003 (9th Cir. 2002).
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 1                                       III.   ANALYSIS
 2         The VPPA prohibits a “video tape service provider” from knowingly disclosing
 3   “personally identifiable information” about one of its consumers “to any person,” and
 4   provides for liquidated damages in the amount of $2,500 for violation of its provisions.
 5   18 U.S.C. §§ 2710(b) and 2710 (c)(2). To plead a plausible claim under section
 6   2710(b)(1), a plaintiff must allege that (1) a defendant is a “video tape service provider,”
 7   (2) the defendant disclosed “personally identifiable information concerning any
 8   consumer” to “any person,” (3) the disclosure was made knowingly, and (4) the
 9   disclosure was not authorized by section 2710(b)(2). Mollett v. Netflix, Inc., 795 F.3d
10   1062, 1066 (9th Cir. 2015). Defendant argues that Plaintiff has failed to state a single
11   element required to prove a VPPA claim. The Court will focus its attention on the
12   definition of a “consumer” under the VPPA.
13             A. Plaintiff is Not a “Consumer” under the VPPA
14         The VPPA defines the term “consumer” to mean, “any renter, purchaser, or
15   subscriber of goods or services from a video tape service provider.” 18 U.S.C. §
16   2710(a)(1). Plaintiff admits that he is neither a renter nor a subscriber under the VPPA.
17   Plaintiff alleges that he is a purchaser under the VPPA, because he “purchased products
18   advertised on Defendant’s website by third parties from which Defendant receives direct
19   or indirect compensation.” FAC ¶ 23. Plaintiff appears to admit that he did not purchase
20   anything directly from Defendant, but rather from third parties. It begs the question of
21   whether that third party purchase qualifies Plaintiff as a “consumer” under the VPPA.
22         As mentioned above, the VPPA specifically defines the term “consumer” to mean,
23   “any renter, purchaser, or subscriber of goods or services from a video tape service
24   provider.” 18 U.S.C. § 2710(a)(1). The terms “renter,” “purchaser,” and “subscriber” are
25   not defined in the Act and thus are given their ordinary meaning. See Gordon v.
26   Virtumundo, Inc., 575 F.3d 1040, 1062 (9th Cir. 2009). “In interpreting a statute … courts
27   are not to construe each phrase literally or in isolation.” Carter v. Scripps Network, LLC,
28   No. 22-CV-2031 (PKC), 2023 WL306858, at *5 (S.D.N.Y. Apr. 24, 2023) (quoting

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 1   Federal Housing Finance Agency v. UBS Americas Inc., 712 F.3d 136, 141 (2nd Cir.
 2   2013) (quotation marks omitted). In the statute’s full context, a reasonable reader would
 3   understand the definition of “consumer” to apply to a renter, purchaser or subscriber of
 4   audio-visual goods or services, and not goods or services writ large. Carter, 2023
 5   WL306858, at *6. The definitions of “consumer” and “video tape service provider” are
 6   paired to some degree: “renter with rental, purchaser with sale, and subscriber with
 7   delivery, all of which subsection (a)(4) applies to audio visual materials. Thus, the scope
 8   of a “consumer,” when read with sections 2710(b)(1) and (a)(4), is cabined by the
 9   definition of “video tape service provider,” with its focus on the rental, sale or delivery of
10   audio-visual materials. Section 2710(b)(1) provides for an action by a renter, purchaser of
11   subscriber of audio-visual materials, and not a broader category of consumers.” Id.
12   Therefore, in order to be a “consumer” the individual must rent, purchase or subscribe for
13   goods or services from a video tape service provider. Renting, purchasing or subscribing
14   for goods or services from a third party connected to a video purchase provider is
15   insufficient to make someone a “consumer” under the VPPA. Similarly, just because a
16   video tape service provider indirectly receives a monetary benefit by virtue of a person’s
17   direct payments to a cable television provider does not make that person a “consumer”
18   under the VPPA. See Perry v. Cable News Network, Inc., 854 F.3d 1336, 1343 (11th Cir.
19   2018).
20             B. The Court Need Not Reach the Remaining Issues as to Whether
21                Defendant is a Video Tape Service Provider and Whether the Data Sent
22                to Facebook Disclosed Plaintiff’s PII
23         Defendant separately argues that the motion to dismiss should be granted because
24   the FAC does not plausibly allege that Defendant is a video tape service provider, that the
25   data sent to Facebook disclosed Plaintiff’s PII and whether the disclosure was done
26   knowingly. As just explained, because the FAC does not plausibly allege that Plaintiff is
27   a “consumer” under the VPPA, the Court does not need to address the remaining
28   questions. The VPPA only protects “consumers.”

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 2                                    IV.    CONCLUSION
 3         No amendment would allege sufficient facts to support a plausible cause of action
 4   that Plaintiff is a “consumer.” For that reason, the Court GRANTS Defendant’s Motion
 5   to Dismiss with prejudice. The Clerk is directed to close the case.
 6         IT IS SO ORDERED.
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     Dated: June 21, 2023
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